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 EXHIBIT A
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Generic Drug                Specific allegations as to                 Named generic manufacturer defendants
                            formulation(s) and/or dosage(s)
Albuterol                   Tablet: 2, 4 mg                            Mylan, Sun
Amitriptyline               Tablet: 10, 25, 50, 75, 100, 150 mg        Mylan, Par, Sandoz
Baclofen                    Tablet: 10, 20 mg                          Lannett, Par, Teva, Upsher-Smith
Benazepril                  Tablet: 10-12.5, 20-12.5, 20-25 mg         Mylan, Sandoz
hydrochlorothiazide
Clobetasol                  Cream: .05% (15, 30, 45, 60 gm)            Actavis, Akorn, Fougera, Hi-Tech, Morton
                            Ointment: .05% (15, 30, 45, 60 gm)         Grove, Perrigo, Sandoz, Taro, Wockhardt
                            Gel: .05% (15, 30, 60 gm)
                            Emollient cream: .05% (14, 30, 60 gm)
                            Solution: .05% (15, 50 mL)
Clomipramine                Capsule: 25, 50, 75 mg                     Mylan, Sandoz, Taro
Desonide                    Cream: .05% (15, 60 mg)                    Actavis, Fougera, Perrigo, Sandoz, Taro
                            Ointment: .05% (15, 60 mg)
Digoxin                     Tablet: .125, .25 mg                       Impax, Lannett, Mylan, Par, West-Ward
Divalproex                  ER tablet: 250, 500 mg                     Dr. Reddy’s, Mylan, Par, Zydus
Econazole                   Cream: 1% (15, 30, 85 gm)                  Perrigo, Taro, Teligent
Fluocinonide                Cream: .05% (15, 30, 60 gm)                Actavis, Taro, Teva
                            Ointment: 15, 30, 60 gm
                            Emollient cream: 15, 30, 60 gm
                            Gel: 60 gm
Levothyroxine               Tablet: .025, .05, .075, .088, .1, .112,   Lannett, Mylan, Sandoz
                            .125, .137, .15, .175, .2, .3 mg
Lidocaine-prilocaine        Cream: 2.5-2.5%, 30 gm                     Akorn, Fougera, Hi-Tech, Impax, Sandoz
Pravastatin                 Tablet: 10, 20, 40, 80 mg                  Apotex, Glenmark, Lupin, Teva, Zydus
Propranolol                 Capsule: 60, 80, 120, 160 mg               Actavis, Breckenridge, Heritage, Mylan,
                            Tablet: 10, 20, 40, 60, 80 mg              Par, Teva, and Upsher-Smith
Ursodiol                    Capsule: 300 mg                            Actavis, Lannett, Epic
